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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION



In the Matter of the Application            No.
Regarding
                                            REDACTED APPLICATION FOR AN
20-004-04                                   ORDER AUTHORIZING THE
                                            INSTALLATION AND USE OF A PEN
                                            REGISTER AND TRAP AND TRACE
                                            DEVICE, AND FOR SUBSCRIBER
                                            INFORMATION




      The United States of America, moving by and through Jennifer

Mammenga, its undersigned counsel, respectfully submits under seal this ex

parte application for an order pursuant to 18 U.S.C §§ 3122 and 3123,

authorizing the installation and use of a pen register and trap and trace device

or process ("pen/trap device") to record, decode, and/or capture dialing,

routing, addressing,    gind    signaling   information   associated   wdth   each

communication to or from the WhatsApp, Inc ("WhatsApp") account for

            referred to as the SUBJECT ACCOUNT described in Attachment A.


In support of this application, the United States asserts:

      1.    This is an application, made under 18 U.S.C. § 3122(a)(1), for an

order under 18 U.S.C. § 3123 authorizing the installation and use of a pen

register and a trap and trace device.

      2.    Such an application must include three elements: (1)"the identity

of the attorney for the Government or the State law enforcement or

investigative officer making the application"; (2) "the identity of the law
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enforcement agency conducting the investigation"; and (3) "a certification by

the applicant that the information likely to be obtained is relevant to an

ongoing criminal investigation being conducted by that agency." 18 U.S.C. §

3122(b):

      3.     The undersigned applieant is an "attorney for the government" as

defined in Rule 1(b)(1) of the Federal Rules of Criminal Procedure.

      4.    The law enforcement agency conducting the investigation is the

Drug Enforcement Administration (DEA).

      5.    The applicant hereby certifies that the information likely to be

obtained by the requested pen-trap devices is relevant to an ongoing criminal

investigation being conducted by the Drug Enforcement Administration.

      6.    This Court is a "eourt of competent Jurisdietion" under 18 U.S.C.

§ 3122(a)(2) because it "has jurisdiction over the offense being investigated," 18

U.S.C. § 3127(2)(A)(i).

     ,                    ADDITIONAL INFORMATION

      7.     Other than the three elements described above, federal law does

not require that an application for an order authorizing the installation and use

of a pen register and a trap and trace device specify any facts. The following

additional information is provided to demonstrate that the Order requested falls

within this Court's authority to authorize the installation and use of a pen

register or trap and trace device under 18 U.S.C. § 3123(a)(1).

      8.    A "pen register" is "a device or process whieh records or decodes

dialing, routing, addressing, or signaling information transmitted by an
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instrument or facility from which a wire or electronic communication is

transmitted." 18 U.S.C. § 3127(3). A "trap and trace device" is "a device or

process which captures the incoming electronic or other impulses which

identify the originating number or other dialing, routing, addressing, and

signaling information reasonably likely to identify the source of a wire or

electronic communication." 18 U.S.C. § 3127(4).

     9.      In the traditional telephone context, pen registers captured the

destination phone numbers of outgoing callSj while trap and trace devices

captured the phone numbers of incoming calls. Similar principles apply to

other kinds of wire and electronic communications, as described below.

      10.    WhatsApp, Inc. ("WhatsApp")        provides   an   Internet   based

multimedia messaging service (MMS) via a smartphone application that

functions using both cellular and wireless data connections.           WhatsApp

Messenger is an alternative to traditional cellular short message service (SMS)

and MMS and works via the Internet, thus avoiding any charges that normal

messages incur. WhatsApp Messenger is a cross-platform mobile messaging

application which is available for iPhone, BlackBerry, Android, Windows Phone,

and Nokia.


      11.    Cellular telephone service is provided to a cellular handheld device,

often referred to as a smartphone, by wireless cellular carriers, such as

Verizon, Sprint, or AT85T. SMS text messaging and traditional cellular phone

voice communications are provided via a wireless cellular carrier's network.

The WhatsApp Messenger application accessible via the smartphone device is
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transmitted across the Internet using the cellular provider's data connection or

a wireless data connection (WiFi access point) such as a home wireless router,

or a public wireless hotspot Internet data connection.

      12.   WhatsApp users may send text messages, audio messages, video

messages, and location information between mobile devices with the WhatsApp

Messenger application installed.      WhatsApp users may also set up and

participate in group chats. Each WhatsApp account has a unique account

identifier associated with the mobile device's telephone number. When using

WhatsApp Messenger to.communicate, instead of sending a message to an

email address, the message is routed across the internet, via WhatsApp servers

located in the United States, from one mobile device to another. WhatsApp

account numbers function similar to the telephone numbers of incoming and

outgoing calls, because they indicate origin(s) and destination(s). WhatsApp

account numbers can be recorded by pen-trap devices and can be used to

identify parties to a communication without revealing the communication's

content.


      13.   When using the WhatsApp Messenger application to communicate,

the message is routed through servers controlled by WhatsApp. Unlike an e-

mail message, which is stored on a network server maintained by the provider,

WhatsApp messages are merely routed to a server managed by WhatsApp,

which does not store the communication, but simply routes the communication

to the receiving mobile device as soon as the receiver is on-line.
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                           THE RELEVANT FACTS

      14.   The Drug Enforcement Administration, is investigating violations of

21 U.S.C. §§ 841(a)(1) and 846 (distribution and conspiracy to distribute

controlled substances), and 18 U.S.C. §§ 1952 and 1956 (use of facilities in

interstate commerce and money laundering).

      15.   In December 2019, South Dakota (SD) Division of Criminal

Investigation (DCI) Special Agent (SA) Scot Hawks met with DEA Sioux Falls

Resident Office (SFRO) Special Agents regarding



      16.   SA Hawks explained a SD DCI Confidential Source (CS) identified

as




      17.   SA Hawks stated that




      18.   SA Hawks stated that his investigation and the CS revealed that
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    19.   The CS provided




   20.    The CS reported




   21.    The OS is also aware that




   22.    On
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     24.   On




     25.   Based on the foregoing, Agents believe that




     26.   The conduct being investigated involves use of the SUBJECT

ACCOUNT.    To further the investigation, investigators need to obtain the

dialing, routing, addressing, and signaling information associated with

communications sent to or from the SUBJECT ACCOUNT.




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      27.   The pen-trap device sought by this application will record, decode,

and/or capture dialing, routing, addressing, and signaling information

associated with each communication to or from the SUBJECT ACCOUNT,

including the date, time, and duration of the communication, and to record

user log-in data (date, time, duration, and Internet Protocol address of all log

ins) on the SUBJECT ACCOUNT.

                          GOVERNMENT REQUESTS


      28.   For the reasons stated above, the United States requests that the

Court enter an Order authorizing the installation and use of a pen-trap device

to record, decode, and/or capture the dialing, routing, addressing, and

signaling information described above for each communication to or from the

SUBJECT ACCOUNT, to include the date, time, and duration of the

communication, without geographic limit. The United States does not request

and does not seek to obtain the contents of any communications, as defined in

18 U.S.C. § 2510(8).

      29.   The United States further requests that the Court authorize the

foregoing installation and use for a period of 60 days from the date of the

Court's Order, pursuant to 18 U.S.C. § 3123(e)(1).

      30.   The United States further requests, pursuant to 18 U.S.C. §§

3123(b)(2) and 3124(a)-(b), that the Court order WhatsApp, Inc. and any other

person or entity providing wire or eleetronie communication service in the

United States whose assistance may facilitate execution of this Order to

furnish, upon service of the Order, information, facilities, and technical



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assistance necessary to install the pen-trap device, including installation and

operation of the pen-trap device unobtrusively and with minimum disruption of

normal service.   Any entity providing such assistance shall be reasonably

compensated by the Drug Enforcement Administration, pursuant to 18 U.S.C.

§ 3124(c), for reasonable expenses incurred in providing facilities and

assistance in furtherance of this Order.


      31.   The United States further requests that the Court order WhatsApp,

Inc. and any other person or entity whose assistance may facilitate execution of

this Order to notify the applicant and the Drug Enforcement Administration of

any changes relating to the SUBJECT ACCOUNT, and to provide prior notice to

the applicant and the Drug Enforcement Administration before terminating or

changing service to the SUBJECT ACCOUNT.

      32.   The United States further requests that the Court order that the

Drug Enforcement Administration and the applicant have access to the

information collected by the pen-trap device as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to them, for the

duration of the Order.

      33.   The United States further requests, pursuant to 18 U.S.C. §

3123(d)(2), that the Court order WhatsApp, Inc. and any other person or entity

whose assistance facilitates execution of this Order, and their agents and

employees, not to disclose in any manner, directly or indirectly, by any action

or inaction, the existence of this application and Order, the resulting pen-trap

device, or this investigation, unless and until authorized by this Court,,except
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that WhatsApp, Inc. may disclose this Order to an attorney for WhatsApp, Inc.

for the purpose of receiving legal advice.

      34.   The United States further requests that this application and any

resulting Order be sealed until otherwise ordered by the Court, pursuant to 18

U.S.C. § 3123(d)(1).

      35.   The United States further requests that the Clerk of the Court

provide the United States Attorney's Office with three certified copies of this

application and Order, and provide copies of this Order to the Drug

Enforcement Administration and WhatsApp, Inc. upon request.

      36.   The foregoing is based on information provided to me in my official

capacity by agents of the Drug Enforcement Administration.

      I declare under penally of perjury that the foregoing is true and correct.

     Dated this        day of January, 2020.

                                      RONALD A. PARSONS, JR.
                                      Unitgd^States Attorney




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                             ATTACHMENT A


                               "Whatsapp"

Facility     Account Number or      Subscriber, if   Subject of
             identifier             known            investigation, if
                                                     known
Whatsapp                            UNK              FNU LNU
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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                             SOUTHERN DIVISION



 In the Matter of the Application       No.               ^
 Regarding
                                        REDACTED ORDER FOR PEN
 20-004-04                              REGISTER AND TRAP AND TRACE
                                        DEVICE




      Jennifer Mammenga, on behalf of the United States, has submitted an

application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court

issue an Order authorizing the installation and use of a pen register and trap

and trace device or process ("pen/trap device") on all electronic or other

transmissions of data passing through the WhatsApp, Inc. ("WhatsApp")

accounts identified in Attachment A (herein referred to as SUBJE^CT ACCOUNT).

      The Court finds that an attorney for the government has submitted the

application and has certified that the information likely to be obtained by such

installation and use is relevant to an ongoing criminal investigation being

conducted by the Drug Enforcement Administration of unknown individuals in

connection with possible violations of 21 U.S.C. §§ 841(a)(1) and 846

(distribution and conspiracy to distribute controlled substances), and 18 U.S.C.

§§ 1952 and 1956 (use of facilities in interstate commerce and money

laundering).

      IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that a

pen/trap device may be installed by WhatsApp and the Drug Enforcement
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Administration to record, decode, and/or capture all non-content dialing,

routing,   addressing,       and   signaling   information   associated   with   each

communication to or from the SUBJECT.ACCOUNT, including the date, time,

and duration of the communication, and to record user log-in data (date, time,

duration, and Internet Protocol address of all log-ins) on the SUBJECT

ACCOUNT.


      IT IS FURTHER ORDERED, pursuant to 18 U.S.G. § 3123(c)(1), that the

use and installation of the foregoing is authorized for a period of 60 days,

beginning at any time within 14 days from the date of this Order;

      IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and

3124(a)-(b), that WhatsApp, Inc. and any other person or entity providing wire

or electronic communication service in the United States whose assistance may,

pursuant to 18 U.S.C.§ 3123(a), facilitate the execution of this Order shall, upon

service of this Order, furnish information, facilities, and technical assistance

necessary to install the pen-trap device, including installation and operation of

the pen-trap device unobtrusively and with minimum disruption of normal

service;

      IT IS FURTHER ORDERED that the Drug Enforcement Administration

reasonably.compensate WhatsApp, Inc. and any other person or entity whose

assistance facilitates execution of this Order for reasonable expenses incurred

in complying with this Order;

      IT IS FURTHER ORDERED that WhatsApp, Inc. and any other person or
                         i              ^


entity whose assistance may facilitate execution of this Order notify the applicant
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and the Drug Enforcement Administration of any changes relating to the

SUBJECT ACCOUNT, including changes to subscriber information, and to

provide prior notice to the Drug Enforcement Administration before terminating

or changing service to the SUBJECT ACCOUNT;

      IT IS FURTHER ORDERED that the Drug Enforcement Administration and

the applicant have access to the information collected by the pen-trap devices as

soon as practicable, twenty-four hours per day, or at such other times as may

be acceptable to the Drug Enforcement Administration, for the duration of the

Order;

      IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that

WhatsApp, Inc. and any other person or entity whose assistance facilitates

execution of this Order, and their agents and employees, shall not disclose in

any manner, directly or indirectly, by any action or inaction, the existence of the

application and this Order, the pen-trap devices, or the investigation to any

person, unless and until otherwise ordered by the Court, except that WhatsApp,

Inc. may disclose this Order to an attorney for WhatsApp, Inc. for the purpose of

receiving legal advice;

      IT IS FURTHER ORDERED that the Clerk of the Court shall provide the

United States Attorney's Office with three certified copies of this application and

Order, and shall provide copies of this Order to the Drug Enforcement

Administration and WhatsApp, Inc. upon request;

      IT IS FURTHER ORDERED that the application and this Order ate sealed

until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).
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     Dated: 1-/7-^qqo
                                  BY THE COURT:




                                  VERONICA L. DUFFY
                                  United States Magistrate
